Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 1 of 14 PageID #: 15215




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  CRYSTALLEX INTERNATIONAL CORP.,

                Plaintiff,

         v.                                                 Misc. No. 17-151-LPS

  BOLIVARIAN REPUBLIC OF VENEZUELA,

                Defendant.

            GOLD RESERVE INC.’S ANSWERING BRIEF ADDRESSING
      ISSUES RAISED IN THE COURT’S MAY 10, 2023 MEMORANDUM ORDER


                                             Kevin J. Mangan (Del. Bar No. 3810)
  OF COUNSEL:                                Matthew P. Ward (Del. Bar No. 4471)
                                             Stephanie S. Riley (Del. Bar No. 5803)
  Matthew H. Kirtland                        WOMBLE BOND DICKINSON (US)
  NORTON ROSE FULBRIGHT US LLP               LLP
  799 9th Street NW, Suite 1000              1313 N. Market St., Suite 1200
  Washington, DC 20001                       Wilmington, DE 19801
  Tel: (202) 662-0200                        Telephone: 302-252-4320
  matthew.kirtland@nortonrosefulbright.com   kevin.mangan@wbd-us.com
                                             matthew.ward@wbd-us.com
  Katherine G. Connolly                      stephanie.riley@wbd-us.com
  NORTON ROSE FULBRIGHT US LLP
  555 California Street, Suite 3300
  San Francisco, CA 94104
  Fax: (628) 231-6799                        Attorneys for Gold Reserve Inc
  katie.connolly@nortonrosefulbright.com

  Dated: June 7, 2023

  .
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 2 of 14 PageID #: 15216




                                                           TABLE OF CONTENTS

 INTRODUCTION .......................................................................................................................... 1

 RESPONSE..................................................................................................................................... 1

            A.         OFAC Sanctions Do Not Prevent Issuance Of Unconditional Writs ..................... 1

            B.         Gold Reserve’s Judgment Can and Should Be Added As An Additional
                       Judgment ................................................................................................................. 2

            C.         All Additional Judgment Creditors with Writs or Conditional Writs Prior
                       to OFAC’s License Should Be Treated Equally ..................................................... 4

                       1.         The Alter Ego Creditors should not be unfairly disadvantaged. ................. 4

                       2.         There should not be different priority between Additional Judgment
                                  Creditors that held writs or conditional writs prior to the OFAC
                                  License. ....................................................................................................... 6

 CONCLUSION ............................................................................................................................... 9




                                                                         i
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 3 of 14 PageID #: 15217




                                                        TABLE OF AUTHORITIES

 Cases

 Burlington N. R. Co. v. Hyundai Merch. Marine Co.,
   63 F.3d 1227 (3d Cir. 1995)........................................................................................................ 3

 Clarkson Co. v. Shaheen,
   716 F.2d 126 (2d Cir. 1983)........................................................................................................ 4

 Crystallex Int’l Corp. v. Bolivarian Republic of Venezuela,
   No. CV 17-MC-151-LPS, 2021 WL 129803 (D. Del. Jan. 14, 2021), appeal dismissed, 24 F.4th
   242 (3d Cir. 2022) ................................................................................................................... 2, 3

 Deng v. HK Xu Ding Co., Ltd.,
   No. N21J-04630-AML, 2023 WL 3318322 (Del. Super. Ct. May 8, 2023)............................... 2

 In re RS Air, LLC, 2023 WL 3774652 (9th Cir. Bk June 2, 2023) ……………………………... 6

 Peloro v. United States, 488 F.3d 163 (3d Cir. 2007) .................................................................... 3

 Ryan Operations G.P. v. Santiam-Midwest Lumber Co.,
   81 F.3d 355 (3d Cir. 1996).......................................................................................................... 3

 S. Rock, Inc. v. B & B Auto Supply,
    711 F.2d 683 (5th Cir. 1983) ...................................................................................................... 9

 Starboard Venture Shipping, Inc. v. Casinomar Transp., Inc.,
   No. 93cv644, 1993 WL 464686 (S.D.N.Y. Nov. 9, 1993) ......................................................... 4

 United States v. 5 Unlabeled Boxes,
   572 F.3d 169 (3d Cir. 2009)........................................................................................................ 5

 Wilson v. Blake,
   53 Vt. 305 (1880) .................................................................................................................... 8, 9
 Statutes

 10 Del. C. § 5081 ............................................................................................................................ 6

 10 Del. C. § 5082 ............................................................................................................................ 6

 6 Del. C. § 8-112 ............................................................................................................................. 6

 6 Del. C. § 8-112(a) ........................................................................................................................ 2



                                                                        ii
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 4 of 14 PageID #: 15218




 6 Del. C. § 8-112(e) ........................................................................................................................ 3

 8 Del.C. § 169 ................................................................................................................................. 4

 8 Del.C. § 324(a) ............................................................................................................................. 6




                                                                        iii
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 5 of 14 PageID #: 15219




                                        INTRODUCTION

        Gold Reserve Inc. (“Gold Reserve”) respectfully submits this Answering Brief1 to address

 the three questions posed by the Court in its May 10, 2023 Memorandum Order and to respond to

 the opening submissions of the other interested parties.2

                                            RESPONSE

 A.     OFAC Sanctions Do Not Prevent Issuance Of Unconditional Writs

        There is no merit to the argument put forth by the Venezuela Parties3 that OFAC has not

 expressly authorized the issuance of writs of attachment to Gold Reserve and similarly situated

 creditors. (Venezuela Brief at 13). Even under the Venezuela Parties’ narrow interpretation of



 1
  Gold Reserve’s opening brief is Gold Reserve Inc.’s Opening Brief Addressing Issues Raised in
 The Court’s May 10, 2023, Memorandum Order (“Gold Reserve Brief”) at D.I. 572.
 2
   The Opening Briefs filed by other interested parties are, in alphabetical order: ACL1 Investments
 Ltd. v. Bolivarian Republic of Venezuela (“ACL Letter Brief”), Case No. 21-mc- 46-LPS at D.I.
 72; Banco San Juan Internacional’s Response to Questions in the Court’s Order Dated May 10,
 2023 (“BSJI Brief”) at D.I. 575; Contrarian Capital Management, L.L.C., et al.’s Opening Brief
 Regarding Additional Judgments and Service of Writs of Attachment (“Contrarian Brief”) at D.I.
 567; Crystallex International Corporation’s Opening Brief Pursuant to May 10, 2023 Scheduling
 Order (“Crystallex Brief”) at D.I. 573; Huntington Ingalls’ Response to The Court’s May 10, 2023
 Order (“HI’s Brief”), Case No. 20-mc-00257-LPS at D.I. 95; OI European Group B.V.’s Opening
 Brief Regarding Additional Judgments And Sale Procedures Order (“OIEG Brief”), Case No. 19-
 mc-00290-LPS at D.I. 154; Sale Process Parties’ Phillips Petroleum Company Venezuela Limited,
 ConocoPhillips Petrozuata B.V., And ConocoPhillips Gulf of Paria B.V.’s Brief in Response To
 The Court’s May 10 Order (“Phillips Brief”) at D.I. 574; Red Tree Investments, LLC’s Opening
 Brief Regarding Additional Judgments and Service of Writ of Attachment (“Red Tree Brief”) at
 D.I. 566; Refineria Di Korsou N.V.’s Opening Brief in Support of Including Its Judgment as An
 Additional Judgment (“Refineria Di Korsou Brief”) at D.I. 564; Plaintiff Rusoro Mining Limited’s
 Brief on Priority Issues (“Rusoro Brief”), Case No. 21-mc-00481-LPS at D.I. 60; Opening Brief
 of Siemens Energy Inc. In Response to Memorandum Order Dated May 10, 2023 (“SEI Brief”) at
 D.I. 569; Judgment Creditors Valores Mundiales, S.L. And Consorcio Andino, S.L.’s Opening
 Submission Relating to The Issues Identified in The Court’s May 10, 2023 Memorandum Order
 (“Valores/Consorcoa Brief”) at D.I. 576; and Brief Of the Venezuela Parties Regarding the
 Inclusion of Additional Judgments in The Sale Process and The Issuance Of Unconditional Orders
 Of Attachment (“Venezuela Brief”) at D.I. 571.
 3
  Capitalized terms used but not defined herein have the meaning ascribed to them in the Court’s
 January 14, 2022 Order, D.I. 234, and the Sale Procedures Order, D.I. 481.
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 6 of 14 PageID #: 15220




 OFAC’s recent communications and actions, Gold Reserve can and should be added as an

 Additional Judgment Creditor (see below), and thus there is no impediment to the Court issuing

 its unconditional writ of attachment (after the Third Circuit temporary stay is lifted).

 B.     Gold Reserve’s Judgment Can and Should Be Added As An Additional Judgment

        Once the Third Circuit’s temporary administrative stay is lifted, there is no impediment to

 adding Gold Reserve, and other creditors with writs and conditional writs issued prior to May 4,

 2023, as Additional Judgments because the PDVH Shares are in custodia legis and may be sold

 for the benefit of the Attached Judgments.

        The Bolivarian Republic of Venezuela (“Republic”) owns 100% of the shares of Petróleos

 de Venezuela, S.A. (“PDVSA”). PDVSA owns 100% of the shares of Petróleos de Venezuela

 Holding, Inc. (“PDVH”), a Delaware corporation. The property that all the judgment creditors of

 PDVSA seek to enforce their judgments against is PDVSA’s ownership of PDVH Shares. The

 PDVH Shares are represented by one physical share certificate.

        Under 6 Del. C. § 8-112(a) the interest of a debtor in a certificated security may be reached

 by a creditor only by actual seizure by the officer making the attachment or levy. See Deng v. HK

 Xu Ding Co., Ltd., No. N21J-04630-AML, 2023 WL 3318322 (Del. Super. Ct. May 8, 2023)

 (“Delaware law requires physical seizure of a stock certificate before certificated shares may be

 attached and sold.”). Here, the PDVH share certificate has not been actually seized and its location

 is unknown or undisclosed. However, this Court held that the Venezuela Parties are collaterally

 and judicially estopped from arguing non-compliance with 6 Del. C. § 8-112(a). Crystallex Int’l

 Corp. v. Bolivarian Republic of Venezuela, No. CV 17-MC-151-LPS, 2021 WL 129803, at *8 (D.

 Del. Jan. 14, 2021), appeal dismissed, 24 F.4th 242 (3d Cir. 2022); Deng at WL 129803, *5 (noting

 the estoppel basis of the Crystallex ruling).

        Despite this holding, the Venezuela Parties argue that, because the share certificate was not


                                                   2
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 7 of 14 PageID #: 15221




 actually seized, no creditors should be named as Additional Judgment Creditors and therefore only

 Crystallex should participate in the prospective sale. The effect of this argument would be to

 minimize the number of PDVH shares that will be sold under the Sale Procedures so that only

 enough PDVH shares will be sold to satisfy the Crystallex judgment.

        This argument is flawed for several reasons and should not be accepted. First, if the

 Venezuela Parties’ argument is collaterally estopped as to Crystallex, it is collaterally estopped as

 to Gold Reserve. Peloro v. United States, 488 F.3d 163, 175 (3d Cir. 2007) (“Under the modern

 doctrine of non-mutual issue preclusion, however, a litigant may also be estopped from advancing

 a position that he or she has presented and lost in a prior proceeding against a different

 adversary.”); Burlington N. R. Co. v. Hyundai Merch. Marine Co., 63 F.3d 1227, 1232 (3d Cir.

 1995) (complete identity of parties in the two suits is not required for the application of issue

 preclusion). Second, judicial estoppel, being a remedy against playing fast and loose with the

 courts and which looks at the connection between the litigant and the judicial system, is not limited

 to the same parties or the same action. See Ryan Operations G.P. v. Santiam-Midwest Lumber

 Co., 81 F.3d 355, 360 (3d Cir. 1996). Third, the Venezuela Parties’ argument contradicts the Third

 Circuit’s holding “that [Crystallex’s] writ is valid.” Crystallex, 2021 WL 129803, at *13. Finally,

 the effect of this argument would leave other diligent creditors such as Gold Reserve unpaid on

 the long-outstanding debts owed by Venezuela/PDVSA.

        Rather than accept this argument, the Court should harmonize the statutory seizure

 requirement with the valid attachment here by holding that the PDVH Shares are in custodia legis,

 for the benefit of the to-be-determined Attached Judgments. This holding is authorized by 6 Del.

 C. § 8-112(e), which provides that a “creditor whose debtor is the owner of a certificated security

 . . . is entitled to aid from a court of competent jurisdiction, by injunction or otherwise, in reaching




                                                    3
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 8 of 14 PageID #: 15222




 the certificated security . . . or in satisfying the claim by means allowed at law or in equity in regard

 to property that cannot readily be reached by other legal process.” And that custodia legis holding

 is the natural upshot of this Court’s appointment of the Special Master and entry of the Sale

 Procedures Order. See 8 Del.C. § 169 (stock in a Delaware corporation is regarded as having its

 situs in Delaware for purposes of jurisdiction and attachment); see also Clarkson Co. v. Shaheen,

 716 F.2d 126, 130 (2d Cir. 1983) (stock held in custodia legis; creditors could reach the debtor’s

 contingent, residual interest). Accordingly, each creditor who seeks to share in the sale proceeds

 of the PDVH shares must go through this Court.4

         Reissuance of the share certificate is therefore unnecessary, and there is no impediment to

 adding Gold Reserve (and other creditors with existing writs of attachment) as Additional

 Judgment Creditors at this time.

 C.      All Additional Judgment Creditors with Writs or Conditional Writs Prior to OFAC’s
         License Should Be Treated Equally

         1.      The Alter Ego Creditors should not be unfairly disadvantaged.

         Gold Reserve and the other judgment creditors holding conditional writs should be

 permitted to enforce their judgments against the PDVH Shares through the Sale Procedures

 adopted by this Court if and when the Third Circuit lifts the temporary administrative stay. Certain

 creditors with direct judgments against PDVSA seek to capitalize on the fact that the alter ego

 rulings are the subject of a pending appeal and that, because of the Third Circuit temporary stay,

 this Court cannot issue unconditional writs to the six alter ego creditors until the stay is lifted.


 4
   Creditor Refineria Di Korsou N.V. (“RDK”) did not go through this Court for its writ. RDK
 alleges that it obtained a writ in Delaware State Court on May 4, 2023, which was served on May
 10, 2023. This writ should be held invalid because it was not issued by this Court. See Starboard
 Venture Shipping, Inc. v. Casinomar Transp., Inc., No. 93cv644, 1993 WL 464686, at *4
 (S.D.N.Y. Nov. 9, 1993) (custodia legis doctrine bars any attachment of funds in a court’s registry
 and is most applicable when it prevents one court from interfering with the authority of another).


                                                    4
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 9 of 14 PageID #: 15223




 These creditors complain about delay in the sale process while waiting for the stay to lift. In

 reality, these creditors seek to take unfair advantage of the stay to jump ahead of the six alter ego

 creditors. There is no basis for this.

        First, the pendency of an appeal does not affect the validity or finality of a judgment. See

 United States v. 5 Unlabeled Boxes, 572 F.3d 169, 175 (3d Cir. 2009). The Third Circuit has only

 stayed further action in the district court; it has not invalidated the alter ego judgments. As such,

 the alter ego judgments are of equal dignity with the direct judgments.

        Second, there will not be undue delay on the alter ego decision because the Third Circuit

 has expedited the appeal in light of the Sale Procedures Order. See Appeal No. 23-1652 at D.I.

 24. Third Circuit briefing has been completed and oral argument was held on June 1, 2023. Under

 the Sale Procedures Order, “[b]y no later than ten calendar days after the Launch Date (the

 “Additional Judgment Deadline”), the Court will decide in accordance with applicable law which,

 if any, additional judgments (the “Additional Judgments,” and with the Crystallex Judgment, the

 “Attached Judgments”) are to be considered by the Special Master for purposes of the Sale

 Transaction.” The currently proposed Launch Date is September 5, 2023. The Third Circuit will

 likely have made its decision before the Additional Judgment Deadline and as such any stay will

 lift. It is entirely reasonable and proper that this Court would (as requested by Gold Reserve and

 other interested parties) defer the issuance of the existing unconditional writs until the Third

 Circuit stay lifts. In such a situation “[a] tactic of waiting until the appeal is disposed of [before

 the lower court makes a decision] may indeed be the best course if that disposition will not be long

 delayed.” Restatement (Second) of Judgments, § 13, cmt. F; see also 5 Unlabeled Boxes, 572 F.3d

 at 175 (“The Restatement (Second) of Judgments, noting that a final judgment will customarily be

 given preclusive effect even though an appeal is pending, suggests, if possible, postponing decision




                                                   5
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 10 of 14 PageID #: 15224




 on the question of preclusion in a second action until the appeal of the first judgment has been

 concluded.”).

        Finally, there is no legal basis to treat alter ego judgments differently. Entities found to be

 alter egos have independent liability to their creditors, and judgments against them should be

 treated with the same dignity as a judgment against the entity itself. See, e.g., In re RS Air, LLC,

 2023 WL 3774652 (B.A.P. 9th Cir. June 2, 2023).

        2.       There should not be different priority between Additional Judgment Creditors
                 that held writs or conditional writs prior to the OFAC License.

        Some creditors have suggested that priority should be determined by when the conditional

 writ orders were sought or obtained, or when a creditor registered its judgment in this Court.5 This

 should not be accepted.

        Prior to the May 1, 2023 OFAC License, the existence of the OFAC sanctions prohibited



 5
    Venezuela argues that there is no need to reach question of priority of Additional Judgments at
 this time. Venezuela Brief at 15. Crystallex says that it is in first priority and takes no position on
 respective priorities of other judgment creditors. Crystallex Brief at 13-15. ConocoPhillips and
 Rusoro argue that priority should be based on when conditional writs were ordered. Phillips Brief
 at 8; Rusoro Brief at 6-10. SEI argues the same. Alternatively, SEI argues that conditional writ
 holders should receive pari passu treatment as a group after the PDVSA judgment holders. SEI
 Brief at 12-14. Banco San Juan similarly requests priority over judgments against Venezuela. BSJI
 Brief at 2. Red Tree, Contrarian, Tidewater and Valores Mundiales and Consorcio Andino take no
 position as to priority. See generally, Red Tree Brief; Contrarian Brief; Tidewater Brief;
 Valores/Consorcoa Brief. Huntington Ingalls and ACL request order of priority to be sent by the
 order in which each party filed their motions for a writ of attachment. HI Brief at 8; ACL Letter
 Brief. OIEG also asks for priority to be set based on date of filing of motion for writ of attachment
 or, alternatively, the date of court approval of conditional (or unconditional) writ of attachment.
 OIEG Brief at 12-14. Refineria Di Korsou asks for priority pursuant to Delaware law, i.e., when
 writ “attaches to the property and has become choate”. Refineria Di Korsou Brief at 6-7. But under
 Delaware law, on personalty, the mere seeking and obtaining of a writ of execution does not result
 in a priority over other judgment creditors. See 10 Del. C. § 5081 (execution shall not bind goods
 and chattels until execution is delivered to the officer to be executed); § 5082 (discussing priority
 among executions that have been “delivered”); see also 8 Del.C. § 324(a) (“the attachment is not
 laid” on certificated securities unless 6 Del. C. § 8-112 has been satisfied).




                                                   6
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 11 of 14 PageID #: 15225




 any potential Additional Judgment Creditor from obtaining an unconditional writ of attachment

 that could actually issue against the PDVH Shares. These sanctions materially distorted the normal

 procedures and timing for establishing priority. Because of the sanctions, no judgment creditor

 could get ahead of any other judgment creditor in the collection race. So certain judgment creditors

 (including Gold Reserve) obtained conditional writ orders, which resulted in each conditional writ

 becoming effective as an unconditional writ simultaneously; namely, when the Court received

 “evidence” that the sanctions had lifted. Each conditional writ order contains the following

 identical condition:

          ORDERED that upon the Court’s receipt of evidence that the U.S. Treasury
          Department’s Office of Foreign Assets Control (“OFAC”) has either (i) authorized
          the issuance and service of a writ of attachment or (ii) removed the sanctions under
          which the PDV Holding, Inc. (“PDVH”) Shares are currently blocked property,
          then the Clerk of this Court is authorized to affix its original signature and seal
          on Plaintiff’s writ of attachment fieri facias [emphasis added];6

          No judgment creditors obtained language in their conditional writ orders that would grant

 them priority over other judgment creditors because they sought or obtained their conditional writ

 first, or registered their judgment first.7 Each alter ego judgment creditor who obtained a

 conditional writ in advance of the issuance of the OFAC License did so with the knowledge that

 the occurrence of the condition would not be unique to it. Thus, regardless of when a motion for

 a conditional writ was filed or granted, or when a party registered its judgment, it was entirely


 6
  The Orders granting conditional writs are at: 22-mc-00453 D.I. 27 entered 3-31-23 [Gold Reserve
 Inc.]; 19-mc-00342 D.I. 43 entered 3-2-22 [Phillips Petroleum Company Venezuela Limited and
 ConocoPhillips Petrozuata B.V.]; 22-mc-00264 D.I. 20 entered 10-24-22 [ConocoPhillips Gulf of
 Paria B.V.]; 21-mc-00046 D.I. 57 entered 3-23-23 [OI European Group B.V., Huntington Ingalls
 Incorporated (fka Northrop Grumman Ship Systems, Inc.), ACL1 Investments Ltd., ACL2
 Investments Ltd., LDO (Cayman) XVIII Ltd., Rusoro Mining Limited]; 22-mc-00156 D.I. 21
 entered 3-31-23 [Koch Minerals Sàrl and Koch Nitrogen International Sàrl].
 7
     See note 4 above.




                                                   7
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 12 of 14 PageID #: 15226




 predictable that once the OFAC License (or other evidence that the sanctions had lifted) was

 received by the Court,8 it would result in multiple writs being issued simultaneously.

        No writs could be effective until the occurrence of the condition clearly stated in the Orders.

 Now that all have been made simultaneously effective by the issuance of the OFAC License, each

 judgment creditor who had a conditional writ in place at that time is on equal footing. The same

 would not be true of any creditor that waited until after the License issued to attempt to obtain a

 writ of attachment. Those parties’ writs have not, and by definition will not, become effective

 until after the writs of the creditors in the pre-May 4, 2023 Group.

        Accordingly, Gold Reserve’s position is that each Additional Judgment Creditor with a

 conditional writ approved prior to the issuance of the OFAC License should have equal priority

 and share in the proceeds of the PDVH shares pro rata. As Gold Reserve argued in its opening

 brief, when the sanctions and administrative stay lift, the conditional writs previously obtained will

 be effective simultaneously. Accord No. 1:19-mc-00290, D.I. 109 at 21 (“From the perspective of

 judicial administration, it makes sense that ConocoPhillips and the other judgment creditors will

 all have access to the same form of relief at the same point in their judgment enforcement efforts.”).

 And because none of these simultaneously arising writs will have first-in-time priority over

 another, the proper course is to satisfy all of them on a pro rata basis.

        Simultaneous attachments among judgment creditors means equal treatment of those

 creditors. See Wilson v. Blake, 53 Vt. 305, 313 (1880) (“This property was attached simultaneously

 on two writs, placed in the defendant’s hands at the same time; . . . Judgments were recovered in

 each suit, and the executions were placed in the hands of the defendant simultaneously. He levied



 8
  The OFAC License is dated May 1, 2023, but was docketed with the Court on May 4, 2023. Gold
 Reserve does not know exactly when the Court received the OFAC License.


                                                   8
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 13 of 14 PageID #: 15227




 the two executions on the property at the same time, and advertised it for sale on each, at the same

 time and place. On these facts each plaintiff in the executions was entitled to an equal part of the

 avails of the sale.”).

         Gold Reserve is not asking for more than what these judgment creditors bargained for: all

 writs becoming equally effective when the same condition occurred. To do otherwise would be

 inequitable as among the class of creditors holding a writ of attachment in advance of May 4, 2023,

 and this is the path that the conditional writ creditors implicitly agreed to in obtaining their writ

 orders. Thus, it is appropriate that these conditional writ creditors have equal priority and share

 pro rata in the sale proceeds of the PDVH Shares. See S. Rock, Inc. v. B & B Auto Supply, 711

 F.2d 683, 689 (5th Cir. 1983) (tax lien and creditor’s security interest perfected simultaneously;

 held: government and creditor “share in the fund in proportion to their claims”); Wilson v. Blake,

 53 Vt. 305, 313 (1880) (two executions levied at the same time; held: the two creditors must share

 equally).

                                          CONCLUSION

         For these reasons, and as set forth in its Opening Brief, Gold Reserve respectfully requests

 that the Court enter an Order that:

         (a) Additional Judgments should include the Pre-May 4 Group;

         (b) each conditional writ of attachment issued to the Pre-May 4 Group be made

 unconditional and issued by the Clerk and be allowed to be served by the U.S. Marshals if and

 when the Third Circuit lifts the temporary administrative stay;

         (c) each of the Pre-May 4 Group have equal priority in the PDVH Shares sales proceeds;

 and

         (d) the Post-May 4 Group be ranked in priority after the Pre-May 4 Group priority in the

 order that each Post-May 4 Group judgment creditor obtains an order allowing its writ and delivers


                                                  9
Case 1:17-mc-00151-LPS Document 594 Filed 06/07/23 Page 14 of 14 PageID #: 15228




 such writ to the Marshals.

                                             WOMBLE BOND DICKINSON (US) LLP

                                             By:/s/ Kevin J. Mangan
                                             Kevin J. Mangan (Del. Bar No. 3810)
 OF COUNSEL:                                 Matthew P. Ward (Del. Bar No. 4471)
                                             Stephanie S. Riley (Del. Bar No. 5803)
 Matthew H. Kirtland                         1313 N. Market St., Suite 1200
 NORTON ROSE FULBRIGHT US LLP                Wilmington, DE 19801
 799 9th Street NW, Suite 1000               Telephone: 302-252-4320
 Washington, DC 20001                        kevin.mangan@wbd-us.com
 Tel: (202) 662-0200                         matthew.ward@wbd-us.com
 matthew.kirtland@nortonrosefulbright.com    stephanie.riley@wbd-us.com

 Katherine G. Connolly
 NORTON ROSE FULBRIGHT US LLP
 555 California Street, Suite 3300           Attorneys for Gold Reserve Inc.
 San Francisco, CA 94104
 Fax: (628) 231-6799
 katie.connolly@nortonrosefulbright.com



 Dated: June 7, 2023




                                            10
 WBD (US) 62273643v1
